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                           UNITED STATES BANKRUPTCY COURT
                                              Western District of Kentucky
               IN RE:                                                Case No.:14−10802−jal
               Mary Frances Lashley

                                               Debtor(s)
                                                                     Trustee: Jerry Burns
                                                                     1945 Scottsville Road, B−2
                                                                     PMB 348
                                                                     Bowling Green, KY 42104
                                                                     (270) 796−9090

                                                                     Meeting Date: 9/5/14
               Chapter:7                                             Meeting Time: 12:30 PM

                               Order For Debtor to Submit Documents
The above−named debtor shall at least 14 days prior to the initial date set for the 11 U.S.C. §341 meeting of creditors submit to the
trustee, whose name and address appear above, along with a copy of this Order, only photocopies of the following documents:

1. All personal and business books, records of account, bank books, bank statements and cancelled checks for the 6 months preceding
bankruptcy (the last bank statement must show the amount on deposit on the date of bankruptcy);

2. All contracts or title papers pertaining to any property in which the debtor has an interest, including any deed or contract under
which the debtor holds title to or any interest in real estate, all recorded mortgages, tax assessments, liens, or encumbrances upon said
property, including the amount owed on date of filing. These documents may be obtained from the Office of the Clerk for the county
in which the real estate is located;

3. Title papers to any motor vehicles, mobile homes, trailers or boats (if original papers have been lost, duplicates must be obtained
from the Office of the Clerk for the county in which the vehicles are registered);

4. Certificates of stock, bonds and a disclosure of any safe deposit boxes and list of contents;

5. Contracts of life or burial insurance;

6. The debtor's most recent state and federal income tax returns, including copies of all 1099 and W−2 forms;

7. Payment advices (wage statements) received within 60 days before filing from any employer;

8. All notes, security agreements, loan disclosure statements and other documents relating to loan transactions to which the debtor is a
party.

9. Copy of the most recent federal income tax return, balance sheet and income statement for any business in which the debtor and/or
spouse holds (or has held) a 50% or greater ownership interest within two years of the filing date;

Copies of all complaints (or counter and/or cross claims) for all pending lawsuits in which the debtor is the plaintiff (or counter and/or
cross claimant); and copies of all wills, trusts, and probate petitions related to any suits and/or administrative proceedings to which the
debtor is or was a benficiary within one year of the filing date.

Failure to timely comply with this order will result in the dismissal of this case without further notice.

Transmittal of the documents to the above−named Trustee shall comply with that Trustee's preferred transmittal method
listed on the table attached hereto.

               Dated: 7/29/14
                                                          ENTERED BY ORDER OF THE COURT
                                                          United States Bankruptcy Court
                                                          Diane S. Robl
